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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




 Case No.         2:00-cr-01220-SVW                                                              Date    February 9, 2015


 Present: The Honorable        STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 Interpreter       N/A

                Paul M. Cruz                         Deborah Gackle                                     Ann Kim
                Deputy Clerk                 Court Reporter/Recorder, Tape No.                    Assistant U.S. Attorney



                U.S.A. v. Defendant(s):            Present Cust. Bond            Attorneys for Defendants:       Present App. Ret.

Ronald Daniels III                                   X       X            Asal Akhondzadeh, DFPD                      X          X



 Proceedings:       PRELIMINARY REVOCATION OF SUPERVISED RELEASE


         Case called and attorneys state their appearances. Defendant states his true and correct name on the record. Defendant is
sworn in. Defendant admits the five allegations on the Petition on Probation and Supervised Release filed June 11, 2014 , and the
government withdraws the allegations on Petition on Probation and Supervised Release filed February 4, 2015. The Court finds that
the defendant violated the conditions of the supervised release order imposed on September 24, 2001, and revokes, remands and sets
aside defendant's supervised release.
         IT IS ADJUDGED, upon the findings of the Court, supervised release is revoked, vacated, and set aside. The defendant is
committed to the custody of the Bureau of Prisons for a period of SIX (6) MONTHS.
         Upon release from confinement, the defendant is placed on a 12-month term of supervised release, under the same terms and
conditions previously imposed, with the following additional conditions:
         1.        The defendant shall participate in a workforce development program or other similar program, which includes
occupational/career development, including but not limited to assessment, testing, education, training classes, career guidance,
employment search, and retention services, as directed by the Probation Officer;
         2.        The defendant shall submit to a search, at any time, with or without warrant, and by any law enforcement or
probation officer, of the defendant's person and any property, house, residence, vehicle, papers, computer, other electronic
communication or data storage devices or media, and effects upon reasonable suspicion concerning a violation of a condition of
supervision or unlawful conduct of by defendant, or by any probation officer in the lawful discharge of the officer's supervision
functions.




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                                                                      Initials of Deputy Clerk                PMC
cc: USPO
    USM
    PSLA

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